Case 7:18-cv-06186-NSR Document 18

UNITED STATES DISTRlCT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MICHAEL DEEM,
Plaintiff,
-against-

LORNA DiMELLA-DEEM; ROBERT J.
FILEWICH, Phr); ANGELINA YoUNG;
RoLLIN AURELIEN; RoBIN D. CARTON,
EsQ.; FAITH G. MILLER, EsQ.; ANGELA
r)iMELLA; JANE DoE; HoN. ARLENE
GoRDoN-oLIvER, F.C.J.,

Defendants.

 

 

NELSON S. ROMAN, United States District Judge:

Filed 07/24/18 at

CJ

L_ .
C‘:: ‘\ 1
ft

§-iD
fI.-\

*- ."Q.
- -h
` i-\
0

t

|

f

t

l‘

l

l

- lms
C.F

E;?t=“
CJ L‘"i
m m
-:':

l
1 .~w" ,
. is l _t i'

-. ii

13-Cv-6136 (NsR)

ORDER OF DISMISSAL

Plaintiff, an attorney who is proceeding pro se,l brings this action asserting federal

constitutional claims under 42 U.S.C. § 1983, conspiracy claims under 42 U.S.C. § 1985, as well

as supplemental state-law claims.2 Plaintill` has paid the relevant fees to commence this action

and the Clerk of Court has issued a summons.

Plaintiff sues: (l) Lorna DiMella-Deem, his Wife, (2) Robert J. Filewich, PhD, his and his

wife’s marriage counselor and mental health practitioner, (3) Angelina Young, a caseworker

employed by the Westchester County Department of Social Services, (4) Rollin Aurelien, a

senior caseworker employed by the Rockland County Department of Social Services, (5) Robin

 

l The Court notes that Plaintiff is suspended from practicing law in this Coult. 111 re.‘
Michael Deein, No. M~2-238 (S.D.N.Y. June 17, 2016). The Court further notes that Plaintiff
does not mention anywhere in his original complaint or amended complaint that he is an attorney
or that he is suspended from practicing law in this Court. Plaintiff’ s amended complaint (ECF

No. lS) is the operative pleading for this action.

2 Plaintiff has consented to electronic service of Court documents (ECF No. 3.) He has
also filed a motion for electronic filing privileges (ECF No. 7.)

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 2 of 10

D. Carton, Esq., his wife’s attorney, (6) Faith G. Miller, Esq., an attorney appointed by the
Family Court, Westchester County, to represent his and his wife’s children (“the children”)
during a proceeding in that court, (7) Angela DiMella, his sister-in-law, (8) an unidentified “Jane
Doe” defendant who allegedly filed a child neglect report regarding the children (ECF No. 15, 11
40) at the behest of DiMella-Deem (id. 1141), and has been allegedly “acting in concert with the
other defendants and in furtherance of the conspiracy against Plaintiff” (id. ‘“ 12), and (9) Arlene
Gordon-Oliver, a Westchester County Family Court Judge who, at one point, presided over a
proceeding regarding the children and has made interim decisions regarding them, Plaintilf, and
DiMella-Deem.

ln his amended complaint, Plaintiff seeks damages, as well as unspecified declaratory and
injunctive relief. Plaintiff has also filed an “Emergency ex parte order to show cause” in which
he asks the Court to direct Filewich (the marriage counselor and mental health practitioner) to
“surrender any individual or joint document regarding marriage counseling or mental health
treatment for Plaintiff [and his wife]” to the United States Marshals Service. (ECF No. 4.) For
the reasons discussed below, the Court dismisses this action.

S'I`ANDARD OF REVIEW

The Court has the authority to dismiss a complaint, or portion thereof, even when the
plaintiff has paid the relevant fees, if it determines that the action is frivolous, Fitzgerald v. Fr'rst
E. Seventh Tenanfs Corp., 221 F.3d 362, 363-64 (2d Cir. 2000) (per curiam), or that the Coult
lacks subject matter jurisdiction, Fed. R. Civ. P. 12(h)(3); Ruhrgas AG v. Mamthon Oil Co., 526
U.S. 574, 583 (1999). Normally, a district cou1t must afford special solicitude to a pro se litigant;
this special solicitude includes “liberal construction of pleadings, motion papers, and appellate

briefs,” as well as “relaxation of the limitations on the amendment of pleadings.” Tracy v.

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 3 of 10

Freshi-vater, 623 F.3d 90, 101 (Zd Cir. 2010). But “the degree of solicitude may be lessened
where the particular pro se litigant is experienced in litigation and familiar with the procedural
setting presented. The ultimate extension of this reasoning is that a lawyer representing himself

ordinarily receives no such solicitude at all.” Id. (citation omitted).

BACKGROUND

Plaintiff alleges that in 2017, he came to believe that his wife, DiMella-Deem, was
having sex with many other people. He alleges that despite her initial denials of his accusations
and her claims that he was mentally ill, she eventually admitted to such behavior Plaintiff’s
claims arise from the marriage counseling sessions, child neglect investigations, as well as
F amin Court and divorce proceedings that have allegedly followed.

Plaintiff asserts that all of the defendants have violated his “right to intimate association
with his children” and “maliciously abused process against” him. (ECF No. 15, 1111 136, 143.) He
also asserts that Judge Gordon-Oliver has violated his right to keep and bear arms. (Icl. 11 138.)
He fulther asserts that all of the defendants have maliciously prosecuted him, as well as violated
his rights to (l) due process, (2) a “fair trial/hearing,” (3) “parental relations,” (4) custody of the
children, and (5) equal protection. (Id. 111 140, 145-146, 148-150.) In addition, he alleges that all
of the defendants, with the exception of Judge Gordon-Oliver, have illegally seized and detained
him, as well as violated his right “to not have false evidence levied against him.” (Id. 1]1] 141,
147.) Plaintiff further alleges that all of the defendants conspired against him to violate his

federal constitutional rights. (Id. 11 153.)

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 4 of 10

DISCUSSION
A. Judge Gordon-Oliver

The Court must dismiss Plaintiff’ s claims against Judge Gordon-Oliver. Judges are
absolutely immune from suit for damages with respect to claims under 42 U.S.C. §§ 1983 and
1985 for any actions taken within the scope of theirjudicial responsibilitiesl See Mireles v.
Waco, 502 U.S. 9, 11-12 (1991) (§ 1983); Turner v. Boyle, 116 F. Supp. 3d 58, 82 (D. Conn.
2015) (“[A]bsolute immunity extends to all civil suits, including suits brought under Section
1983 and [S]ection 1985.”). Generally, “acts arising out of, or related to, individual cases before
[a] judge are considered judicial in nature.” Bliven v. Htmt, 579 F.3d 204, 210 (2d Cir. 2009).
“[E]ven allegations of bad faith or malice cannot overcome judicial immunity.” ld. at 209. This
is because “[W]ithout insulation from liability, judges would be subject to harassment and
intimidation . . . .” Yozmg v. Se!sky, 41 F.3d 47, 51 (2d Cir. 1994). In addition, as amended in
1996, § 1983 provides that “in any action brought against ajudicial officer for an actor omission
taken in such officer’s judicial capacity, injunctive relief shall not be granted unless a declaratory
decree was violated or declaratory relief was unavailable.” 42 U.S.C. § 1983.

Judicial immunity does not apply when a judge takes action outside her judicial capacity,
or when a judge takes action that, althoughjudicial in nature, is taken “in the complete absence
of all jurisdiction.” Mireles 502 U.S. at 11-12; see also Bh'verr, 579 F.3d at 209-10 (describing
actions that are judicial in nature). But “the scope of [a] judge’s jurisdiction must be construed
broadly where the issue is the immunity of the judge.” Stump v. Spm'kman, 435 U.S. 349, 356
(1978). Courts have specifically applied this immunity to Family Coult judges. See Pcrrem‘ v.
New York, 485 F. App’x 500, 504 (2d Cir. 2012) (summary order); Wrobleski v. Bellevue Ho.rp.,

No. 13-cv_s736 (WHP), 2015 WL 585317, at *3 (s.D.N.Y. Jan. 30, 2015); Kogei- v. New rot-k,

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 5 of 10

No. 13-CV-7969 (PAE), 2014 WL 3767008, at *6 (S.D.N.Y. July 31, 2014), appeal dismissed
No. 15-092 (2d Cir. June 23, 2015); Pollack v. Nash, 58 F. Supp. 2d 294, 303 (S.D.N.Y. 1999).
Plaintiff alleges that an application drafted by Young was submitted to Westchester
County Family Court Judge H. Greenwald, who held an ex parte proceeding resulting in an
interim order directing Plaintiff to vacate his home and cease all contact with the children. (ECF
No. 15, 1111 72, 74.) Plaintiff asserts that “Judge Gordon-Oliver was present during [the
proceeding before Judge Greenwald] and spoke to [him] about how the matter would be handled
for future court dates.” (Id. 11 75.) Plaintiff also asserts that Judge Gordon-Oliver “failed or
refused to inform [him] of her ex parte communications in contravention [of] state law.” (]d. 11
76.) The remainder of Plaintiff’s claims against Judge Gordon-Oliver are about her interim
decisions to (1) restrict Plaintiff, and later prohibit him, with respect to having contact with the
children, (2) appoint Miller as “Attorney for the Children,” (3) hear arguments from an Assistant
County Attorney who had an admitted conflict of interest with Plaintiff, (4) order an
investigation at the suggestion of that Assistant County Attorney, (5) condone a Cou1t ()fficer’s
order to Plaintiff to sit while Plaintiff Was addressing the Farnily Court, while allowing other
parties to stand When doing so, (6) order Plaintiff to surrender all of his firearms to the police,
(7) vacate an order of protection against DiMella-Deem, (8) transfer the “family offense
proceedings” to the New York Supreme Court, Westchester County, where Plaintiff’s divorce
proceeding is apparently pending, (9) “put words in the mouth of" Miller “to justify” why Miller
argued against allowing the children to have contact with Plaintiff, (10) deny Plaintiff a hearing
with respect to a previously issued temporary order of protection barring Plaintiff from having
contact with the children, and (11) upon being served with Plaintiff’s original complaint in this

action and having recused herself, to extend the abovementioned temporary order of protection

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 6 of 10

until another Family Court Judge holds a hearing on September 13, 2018. (See id. 111[ 84, 99, 106-
110,112,119-121,127-31.)

lt is clear, however, that Judge Gordon-Oliver was well within her authority to make
those decisions.3 Judge Gordon-Oliver is thus immune from suit with respect to Plaintiff’s
§§ 1983 and 1985 claims against her. The Court therefore dismisses those claims under the
doctrine of judicial immunity and because they are frivolous. See Mills v. Fischer, 645 F.3d 176,
177 (2d Cir. 2011) (“Any claim dismissed on the ground of absolute judicial immunity is
‘frivolous’ for purposes of [the informa pauperis statute1.”); Monrero v. Travis, 171 F.3d 757,
760 (2d Cir. 1999) (“A complaint will be dismissed as ‘frivolous’ when ‘it is clear that the

defendants are immune from suit.”’ (quoting Neilzke v. Williams, 490 U.S. 319, 327 (1989))).4

 

3 Plaintiff specifically asserts that Judge Gordon-Oliver granted a petition to transfer the
“family offense proceedings” to the New York Supreme Court, Westchester County, “in excess
of her jurisdiction.” (ECF No. 15, 11 112.) He also asserts that Judge Gordon-Oliver was either
“in clear absence or in excess of all jurisdiction” when, upon recusing herself, she extended a
previously issued temporary order of protection, which prohibited him from having contact with
the children, until September 13, 2018, when a hearing is to be held by another Family Court
Judge. (Id. 1111 129-130.) Judges are inrmune from claims arising from decisions made in excess
of their jurisdiction, as opposed to decisions made in the clear absence of their jurisdiction. See
S!ump, 435 U.S. at 355-57 (quoting Bradley v. Fisher, 80 U.S. 335, 351 (1871)) (footnote
omitted). Thus, this Court will not decide whether these decisions were nrade in error. See id.
And Plaintiff has alleged no facts showing that Judge Gordon-Oliver was in clear absence in her
jurisdiction when she made these decisions. See Bradley, 80 U.S. at 351~52 (explaining the
difference between being “in excess of’ jurisdiction and being “in clear absence of”jurisdiction).

4 The amendment to § 1983, allowing for injunctive relief against a judge only if a state-
court declaratory decree was violated or state-court declaratory relief is unavailable, precludes
Plaintiff from seeking injunctive and declaratory relief against Judge Gordon-Oliver. This is so
because Plaintiff can always appeal Judge Gordon-Oliver’s rulings in the state appellate courts.
See, e.g., Berlin v. Mei'jia, No. 15~CV-5308, 2017 WL 4402457, at *4 (E.D.N.Y. Sept. 30, 2017),
appeal dismissed, No. 17-3589 (2d Cir. Apr. 18, 2018). F ederal district courts do not supervise
the state courts.

lndeed, to the extent that Plaintiff seeks injunctive and declaratory relief that would cause
this Court to intervene i_n what appear to be Plaintiff”s pending state~court child neglect, child
custody, and divorce proceedings, this Court is additionally precluded from doing so under the
l’ozmger abstention doctrine. See Falco v. Juslices of the Marrimonial Par'rs oflhe Supreme

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 7 of 10

B. Domestic relations abstention doctrine

Under the domestic relations exception, federal courts sitting in diversity do not have
jurisdiction “to issue divorce, alimony and child custody decrees.” Ankenbrana't v. Richards, 504
U.S. 689, 703 (1992). The exception is narrow, but even in cases where the Court may properly
exercise original subject matterjurisdiction, “[a] federal court presented with matrimonial issues
or issues ‘on the verge’ of being matrimonial in nature should abstain from exercising
jurisdiction so long as there is no obstacle to their full and fair determination in state courts.”
Amerz`can Airl:`nes, ]nc. v. Block, 905 F.2d 12, 14 (2d Cir. 1990) (per curiam); see Ranney v.
Bauza, No. lO-CV-7519 (RJS), 2011 WL 4056896, at *3 (S.D.N.Y. Aug. 31, 2011)
(distinguishing the narrow domestic relations exception from the broader “American Ar`rlines
abstention doctrine” upon which courts in the Second Circuit routinely rely). Applying these
principles, courts in this Circuit have abstained from controversies that, regardless of how a
plaintiff characterizes them, “‘begin and end in a domestic dispute.”’ Tai! v. Powell, 241 F.
Supp. 3d 372, 377 (E.D.N.Y. 2017) (quoting Schotrel v. Kuiyba, No. 06-1577-cv, 2009 WL
230106, at *l (2d Cir. Feb. 2, 2009) (unpublislred summary order)).

The Second Circuit has issued nonprecedential decisions that consider the exception in
several contexts. See Martinez v. Queens Cnry. Dist. Atly., 596 F. App’x 10, 12 (2d Cir. 2015)
(summary order) (reasoning that “subject matter jurisdiction may be lacking in actions directed
at challenging the results of domestic relations proceedings,” even if parties are not seeking a

custody decree); Schoh‘el, 2009 WL 230106, at *l (“Althouglr we recognize that the domestic

 

Court of Szyj'olk Cmy., 805 F.3d 425, 427-28 (2d Cir. 2015); Black v. Raney, No. 14-CV-9026
(KPF), 2018 WL 2766138, at * 13 (S.D.N.Y. June 7, 2018); see also Bukowski v. Spinner, 709 F.
App’x 87, 88 (2d Cir. 2018 ) (summary order) (applying Younger abstention doctrine to claims
that a parent “suffered various constitutional injuries arising from temporary state-court orders
related to her custody and visitation rights”).

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 8 of 10

relations ‘exception is very narrow,’ a plaintiff cannot obtain federal jurisdiction merely by
rewriting a domestic dispute as a tort claim for monetary damages.”) (citation omitted)', Mr`!chell-
Angel v. Cronin, 101 F.3d 108 (2d Cir. 1996) (unpublishcd opinion) (“While the domestic
relation exception itself is narrow, it applies generally to issues relating to the custody of
minors.“) (citation omitted). But see Ki'ng v. Comm ’r & New York Cz`ly Police Dep ’f, 60 F. App’x
873, 875 (2d Cir. 2003) (unpublishcd summary order) (reasoning that “even under the broadest
interpretation of the [domestic relations] exception, it applies only to cases that seek issuance or
modification of divorce, alimony, or child custody decrees”).

The Court must abstain from exercising jurisdiction over the remainder of Plaintiff’s
federal claims because Plaintiff presents issues that are, or are on the verge of being, about child
custody. Plaintiffs claims arise from the defendants’ alleged actions that are associated with, led
to, and involve Plaintiff’s child neglect, child custody, and divorce proceedings that are
apparently pending in a state court. Plaintiff seeks unspecified permanent declaratory and
injunctive relief, as well as damages, from Judge Gor'don-Oliver, the Farnily Court Judge who
has made interim decisions regarding the children, Plaintiff, and his wife; DiMella-Deem, his
Wife; Filewich, his and his wife’s marriage counselor and mental health practitioner; Dilvlella,
his sister-in-law; Young and Aurelien, the caseworkers assigned to tlre child neglect and custody
dispute; Carton, his wife’s attorney; Miller, the attorney assigned by the Family Court to
represent the children in the Fanrily Court proceeding; and an unidentified “Jane Doe” defendant
who allegedly reported child neglect regarding the children. Thus, it is clear that Plaintiff
presents issues that either are, or are on the verge of being, about child custody. And Plaintiff has
alleged no facts indicating that there is any “obstacle to [a] full and fair determination [of his

child custody issues] in state courts.” /lmerican Airlines, Inc, 905 F.2d at 14. Accordingly, the

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 9 of 10

Court dismisses the remainder of Plaintiff’ s federal claims under the abstention doctrine
articulated in Amerlcan Az'rlines.

C. State-law claims

A district court may decline to exercise supplemental jurisdiction over state-law claims
when it “has dismissed all claims over which it has original jurisdiction.” 28 U.S.C. § 1367(0)(3).
Having dismissed the claims over which the Court has original jurisdiction, the Court declines to
exercise its supplemental jurisdiction over the state-law claims that Plaintiff is asserting. See
Kolari v. New York-Presbyrerian Hosp., 455 F.3d 118, 122 (2d Cir. 2006) (“Subsection (c) of
§ 1367 ‘confirms the discretionary nature of supplemental jurisdiction by enumerating the
circumstances in which district courts can refuse its exercise.”’ (quoting Ci!y of Chicago v. Im"l
Coll. ofSurgeons, 522 U.S. 156, 173 (1997))).

CONCLUSION

The Clerk of Court is directed to note service of this order on the docket. The Court
dismisses this action. The Court dismisses Plaintiff’ s federal claims against Judge Gordon-Oliver
under tlre doctrine of judicial immunity and as frivolous. The Court dismisses the remainder of
Plaintiff's federal claims under the abstention doctrine articulated by the Second Circuit in
American/~lirlines, Inc. v. Block, 905 F.2d 12, 14 (2d Cir. 1990) (per curiam). The Court declines
to exercise supplemental jurisdiction with respect to Plaintiff’ s state-law claims. 28 U.S.C.

§ 1367(c)(3). The Court denies all applications and motions as moot. (ECF Nos. 4 & 7.)

 

Case 7:18-cv-06186-NSR Document 18 Filed 07/24/18 Page 10 of 10

The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would
not be taken in good faitlr, and therefore in forma pauperis status is denied for the purpose of an
appeal. See Coppedge v. Unitedeafes, 369 U.S. 43 8, 444-45 (1962).

SO ORDERED.

Dated: July 24, 2018
White Plains, New York

ELSON AN
Unite ates District Judge

10

 

